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                             UNITED STATES DISTRICT COURT
                               DISTRICT OF CONNECTICUT

LISA KWESELL; CHRISTINE                      :       CASE NO: 3:19-cv-01098 (KAD)
TURECEK; AND JASON SCHWARTZ,                 :
individually and on behalf all others        :
similarly situated,                          :
                                             :
               Plaintiffs,                   :
                                             :
v.                                           :
                                             :
YALE UNIVERSITY,                             :
                                             :
               Defendant.                    :       May 4, 2022


                                  JOINT STATUS REPORT

       The Parties respectfully provide a status report as directed by the Court’s order dated

April 20, 2022 (ECF #89). While the Parties are continuing to research a small number of

individuals to confirm whether they would fall within in the proposed class, and if so, to

determine what settlement payments they would be entitled to if the settlement is approved, this

research is close to completion. Accordingly, the Parties believe that it would be appropriate to

schedule the preliminary approval hearing. Counsel for the parties are available any date the

week of June 6-10 or June 13 or 14, 2022, if any of those dates is available for the hearing. The

Parties also anticipate filing with the Court a slightly revised proposed notice to class members

no later than seven days before the hearing date. The only substantive change to the proposed

notice would to be to provide further guidance on the likely tax treatment of settlement

payments.

                                                     RESPECTFULLY SUBMITTED,

                                                     THE PLAINTIFFS

                                                     /s/ Dara S. Smith
                                                     Dara S. Smith (admitted pro hac vice)
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                                 CERTIFICATE OF SERVICE

       I hereby certify that, on the above-stated date, a copy of the foregoing was filed

electronically and served by mail on anyone unable to accept electronic filing. Notice of this

filing will be sent by email to all parties by operation of the Court’s electronic filing system and

by mail to anyone unable to accept electronic filing as indicated on the Notice of Electronic

Filing. Parties may access this filing through the Court’s CM/ECF System.



                                                      /s/ Dara S. Smith
                                                      Dara S. Smith




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